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                         On Appeal from the United States District Court for the
                           District of Delaware Case No. l:18-cv-01043-KAJ
                             Honorable Kent A. Jordan, U.S. Circuit Judge
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                                                              Counsel for Amici Curiae
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                          CERTIFICATE OF INTEREST

      Pursuant to Federal Circuit Rules 29(a) and 47.4, counsel for amici curiae

certifies to the following:

      1.     Represented Entities. Fed. Cir. R. 47.4(a)(l). Provide the full

names of all entities represented by undersigned counsel in this case.

             See Attachment A.

      2.     Real Party in Interest. Fed. Cir. R. 47.4(a)(2). Provide the full

names of all real parties in interest for the entities. Do not list the real parties if

they are the same as the entities.

             None.

      3.     Parent Corporations and Stockholders. Fed. Cir. R. 47.4(a)(3).

Provide the full names of all parent corporations for the entities and all

publicly held companies that own 10% or more stock in the entities.

             None.

      4.     Legal Representatives. List all law firms, partners, and associates

that (a) appeared for the entities in the originating court or agency or (b) are

expected to appear in this court for the entities. Do not include those who have

already entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

             None.




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      5.       Related Cases. Provide the case titles and numbers of any case

known to be pending in this court or any other court or agency that will

directly affect or be directly affected by this court's decision in the pending

appeal. Do not include the originating case number(s) for this case. Fed. Cir. R.

47.4(a)(5). See also Fed. Cir. R. 47.5(b).

               Novartis Pharmaceuticals Corp. v. Handa Neuroscience, LLC et al.,

               Case No. 1:21-cv-00645 (D. Del.); Novartis Pharmaceuticals Corp. v.

               Handa Neuroscience, LLC et al., Case No. 1:22-cv-00352 (D. Del.).

      6.       Organizational Victims and Bankruptcy Cases. Provide any

information required under Fed. R. App. P. 26.l(b) (organizational victims in

criminal cases) and 26.l(c) (bankruptcy case debtors and trustees). Fed. Cir. R.

47.4(a)(6).

               None.


Dated: August 4, 2022                         /s/ Christopher E. Loh
                                              Signature of counsel

                                              Christopher E. Loh
                                              Printed name of counsel




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            ATTACHMENT A TO CERTIFICATE OF INTEREST

      Affiliation is provided for identification purposes only. All signatories are

participating in their individual capacity, not on behalf of their institutions.

             Professor Martin J. Adelman
             George Washington University Law School

             Professor Emily Michiko Morris
             University of Akron School of Law

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             Professor Ted Sichelman
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             Managing Director, Center for Intellectual Property
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             George Mason University, Antonin Scalia Law School




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              STATEMENT OF INTEREST OF AMICI CURIAE

      Amici curiae are intellectual property law professors. They have no personal

interest in the outcome of this case or the patent at issue, U.S. Patent No. 9,187,405

(“’405 patent”). They submit this brief to highlight conflicts between the June 21,

2022 decision of the rehearing panel majority and existing Federal Circuit and

Supreme Court precedent—as evidenced by the split between the June 21, 2022

second panel decision and the earlier January 3, 2022 decision in the same case.

Amici respectfully urge the Court to grant Novartis’s petition for rehearing en banc

to address those conflicts.

      Amici have authorized the undersigned to file this brief. This brief was not

authored in whole or in part by any party’s counsel. No person or entity other than

amici or their counsel contributed financially to its preparation or submission.

Amici have no stake in the parties or case outcome.

                                   ARGUMENT

      1.     The Second Panel Decision Creates a New
             “Necessarily/Always” Written Description Standard

      While the second panel decision states that it creates no new written

description standard, that is incorrect. The decision states that written description

exists only if there is express support or if “a particular limitation would always be

understood by skilled artisans as being necessarily” present. Slip op. at 7

(emphasis added). The decision explains that, “[w]hen the specification is itself
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silent regarding a negative limitation, testimony from a skilled artisan as to

possibilities or probabilities that the recited element would be excluded would not

suffice, lest such testimony could effectively eliminate the written description

requirement.” Id. That rule forecloses reliance on testimony about how a person

having ordinary skill in the art (“PHOSITA”) would understand the text, structure

and technological context of the specification. Although a negative claim

limitation was at issue, the decision suggests that the new standard should apply

equally to positive and negative limitations. Slip op. at 12 (emphasizing that the

same standard applies “for positive limitations” as “for negative limitations”).

      The second panel decision’s new standard for limitations other than those

expressly in the written description is contrary to Federal Circuit precedent. As an

initial matter, it erroneously places the burden of proving validity upon the owner

of an issued patent. Cf. Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316,

1329 (Fed. Cir. 2008) (ultimate burden of proving invalidity by clear and

convincing evidence rests with patent challenger). And the substance of the new

standard is contrary to Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336,

1351–52 (Fed. Cir. 2010) (en banc), wherein the en banc Federal Circuit

established that written description does not require any “particular form of

disclosure.” On the specific matter of negative limitations, Inphi Corp. v. Netlist,




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Inc., 805 F.3d 1350, 1356 (Fed. Cir. 2015) clarified that there is no “reason to []

articulate a new and heightened standard for negative claim limitations.”

      Decisions like Ariad and Inphi establish that the written description in a

specification must be evaluated in its proper technological context, without

wooden rules. While the Federal Circuit has held that written description can also

be shown through inherent disclosure, in which a claim element not expressly

disclosed in the specification is necessarily present, e.g., Cont’l Can Co. USA, Inc.

v. Monsanto Co., 948 F.2d 1264, 1268–69 (Fed. Cir. 1991), the Federal Circuit—

until now—has never suggested that, absent in haec verba disclosure, the written

description requirement can only be met through inherent disclosure, wherein the

specification “necessarily” or “always” includes a positive limitation or excludes a

negative one.

      A good example of the Federal Circuit’s flexible approach to written

description is seen in Pozen Inc. v. Par Pharm., Inc., 696 F.3d 1151 (Fed. Cir.

2012). There, claims to a drug’s packaging and container were challenged on

§ 112 grounds because those ideas were nowhere in the specification. Id. at 1166.

The district court nevertheless found that a PHOSITA “would know that

medications are not simply handed out to patients. Rather, pharmaceutical

products, like the claimed tablets, are routinely administered in containers or

packages.” Pozen Inc. v. Par Pharm., Inc., 800 F. Supp. 2d 789, 821–22 (E.D.


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Tex. 2011). This Court affirmed for lack of clear error. 696 F.3d at 1167. The

same flexible approach should have yielded the same result in the present case.

      But it did not. Instead, the second panel decision applied the sort of rigid

rule the Supreme Court has repeatedly admonished against in patent law. In so

doing, the decision jeopardizes the validity of thousands of issued patent claims

and upsets expectations over how the written description requirement should apply

to future claims.

      2.     The New Standard Deprives Patentees of
             the Ability to Limit Claims to Avoid the Prior Art

      In addition to the decision’s broader implications, its new written description

standard will deprive patentees of the ability to limit claims to avoid the prior art

through negative limitations. Doing so will have adverse policy consequences.

      Negative limitations often are introduced in prosecution for the purpose of

narrowing claims to avoid prior art. Negative limitations readily understood by

PHOSITAs thus are an important tool in ensuring that claims are of appropriate

scope. If allowed to stand, however, the new standard will in many situations

deprive patent applicants of that option.

      Consider the situation described in In re Wertheim, 541 F.2d 257, 263

(C.C.P.A. 1976), in which the applicant discovers during prosecution that the prior

art covers part of the invention as originally claimed and described. The applicant

should be able to narrow its original claims with a negative limitation to carve out
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that aspect of the invention. Indeed, prior decisions have encouraged patentees to

include such negative limitations—even if not specified in their written

descriptions—so long as a PHOSITA reasonably would understand that the

patentee possessed the narrowed invention. E.g., Union Oil Co. of Cal. v. Atl.

Richfield Co., 208 F.3d 989, 1000 (Fed. Cir. 2000); In re Johnson, 558 F.2d 1008,

1018–19 (C.C.P.A. 1977). As the Federal Circuit’s predecessor observed in

Wertheim:

             That what appellants claim as patentable to them is less
             than what they describe as their invention is not
             conclusive if their specification also reasonably describes
             that which they do claim . . . “To rule otherwise would let
             form triumph over substance, substantially eliminating
             the right of an applicant to retreat to an otherwise
             patentable species merely because he erroneously
             thought he was first with the genus when he filed.”

541 F.2d at 263, quoting In re Saunders, 444 F.2d 599, 607 (C.C.P.A. 1971).

      Under the new standard, by contrast, patent claims amended with negative

limitations would often be invalid for lack of written description. Indeed, it is

difficult to imagine a scenario in which the amended claims, coupled with the

original specification, will satisfy the new standard. After all, if the original

specification were drafted to support the original claims—which did not include

the negative limitation—then the original specification, by definition, is unlikely to

have “necessarily” excluded that limitation.



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      In depriving patent applicants of the option to rely on negative limitations,

the new standard imperils meaningful patent protection for all inventions. This

burden likely will fall heaviest upon pharmaceutical and biotechnology inventions,

which often can address an array of diseases through the same mechanism of

action. John Carroll, One Drug, Many Uses, 2 Biotech. Healthc. 56, 58–61 (2005).

For example, fingolimod not only can be used to treat relapsing remitting multiple

sclerosis (“RRMS”), as claimed in the patent at issue in this case, but also has

utility in treating transplant rejection, viral myocarditis, and autoimmune disorders

other than RRMS. U.S. Patent No. 8,324,283 at col. 12, ll. 19–37. To meet the

new “necessarily/always” standard any time treatment-related prior art is cited

during prosecution, specifications for drug patents would have to include every

detail of every treatment protocol for every disease for which the drugs have been

found useful, even if those details were already well-known in the art. Such a

standard would be prohibitive and would endanger a significant percentage of drug

patents.

      Likewise, pharmaceutical and biotechnology patent applicants often must

file broad genus claims at the start of each drug development cycle to cover all

potential drug candidates that may later enter clinical trials. Dmitry Karshtedt et

al., The Death of the Genus Claim, 35 Harv. J. Law & Tech. 1, 14–15 (2021). The

law should not limit the ability of these applicants to pare back the scope of their


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original genus claims, including through the use of negative limitations, in order to

avoid the prior art and to align patent scope with the subset of drug candidates

ultimately selected for development.

      The new standard thus would undermine the value of pharmaceutical and

biotechnology patents and in turn undermine incentives to develop innovative new

medicines. Patents are pivotal to protecting the multi-year and multi-billion dollar

investments necessary to develop new products. E.g.¸ J.A. DiMasi et al.,

Innovation in the Pharmaceutical Industry: New Estimates of R&D Costs, 47 J.

Health Econ. 20, 24–25, 31 (2016) (estimating costs exceeding $1.395 billion for

development of a pharmaceutical, and a synthesis-to-market approval timeline

totaling more than 10 years); Jorge Mestre-Ferrandiz et al., The R&D Cost of a

New Medicine, Off. Health Econ. (2012), (https://www.ohe.org/

system/files/private/publications/380%20-%20R%26D%20Cost%20NME%

20Mestre-Ferrandiz%202012.pdf?download=1) (similar). Absent the prospect of

obtaining appropriate patent protection, most pharmaceutical and biotechnology

companies would not be able to bear the time and cost associated with developing

new medicines.

      3.     The Second Panel Decision Engaged in Improper Fact-Finding

      Fed. R. Civ. P. 52(a)(6) states that a court of appeals “must not . . . set aside”

a district court’s “[f]indings of fact” unless they are “clearly erroneous.” In Teva


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Pharms. USA, Inc. v. Sandoz, Inc., 574 U.S. 318 (2015), the Supreme Court held

that this rule constituted a “clear command,” id. at 318, and criticized the Federal

Circuit there for engaging in improper appellate fact-finding to overturn the district

court’s conclusion that a patent was valid based upon the testimony of the

patentee’s expert. Id. at 335–36.

      This case presents an even more egregious case than Teva of improper

appellate fact-finding. Here, the second panel’s decision overturned both the

district court’s finding of patent validity and the January panel majority’s

affirmance of that finding—all of which were consistent with fact findings by four

prior judges (three in a parallel IPR proceeding on the ’405 patent, and then-

District Judge Stark on a motion for a preliminary injunction). The second panel

did so by treating the “plain text” of the specification as negating the unrebutted

testimony of four experts as a matter of law. Slip op. at 8. Indeed, the sole

decision the second panel cites to support its disregard of lower-court fact-finding

is not about the written description requirement, but instead is about claim

construction and de novo review. Id., citing Bell & Howell Document Mgmt.

Prods. Co. v. Altek Sys., 132 F.3d 701, 706 (Fed. Cir. 1997).

      The second panel engaged in improper fact-finding, notwithstanding that the

written description requirement has long been held to be a pure issue of fact

addressed from the perspective of the PHOSITA. Allergan, Inc. v. Sandoz Inc.,


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796 F.3d 1293, 1308 (Fed. Cir. 2015); Ariad, 598 F.3d at 1351. See also Capon v.

Eshhar, 418 F.3d 1349, 1357 (Fed. Cir. 2005) (written description “varies with the

nature and scope of the invention at issue, and with the scientific and technologic

knowledge already in existence”). And the second panel did so with respect to a

quintessentially factual question not amenable to “plain text” analysis: whether a

PHOSITA, based upon the state of the art, reasonably would have understood the

specification of the ’405 patent to have excluded administration of a “loading

dose” of fingolimod to treat RRMS patients.

      By failing to defer to the unrebutted fact-finding of four experts and the

district court on that question, the second panel decision adds a further layer of

unpredictability to an already intractable written description requirement.

Decisions like these generate uncertainty over the value of existing patents and

discourage incentives to seek future ones; fuel the perception of the Federal Circuit

as an overactive and unpredictable court;1 diminish the importance of expert

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  E.g., Andrew Karpan, Fed. Circ. Reverses Initial Panel To Find Gilenya IP
Invalid, Law 360, June 21, 2022 (https://www.law360.com/articles/1504555?
scroll=1&related=1) (describing how the second panel’s “sudden about-face
startled” patent practitioners); Kaitlin Farrell and Austin Keith, Federal Circuit
Rehearing Panel Vacates its January Decision and Reverses District Court
Finding of Sufficient Written Description for Negative Claim Limitation, J.D.
Supra, July 6, 2022 (https://www.jdsupra.com/legalnews/federal-circuit-rehearing-
panel-vacates-7497636/) (describing how the panel decisions here “expose discord
among Federal Circuit Judges” and create uncertainty); Luke T. Shannon and
Andrew M. Solomon, Silence is Not Golden - Federal Circuit Invalidates Method
of Treatment Patent for Lack of Written Description, The National Law Review,
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testimony in patent litigation; and undermine the independent authority of district

courts to resolve questions of fact.

      Last, the second panel decision contradicts the Federal Circuit’s assurance

that a patent specification need not teach, and “preferably omits,” that which is

already known in the art. E.g., Hybritech, Inc. v. Monoclonal Antibodies, Inc., 802

F.2d 1367, 1384 (Fed. Cir. 1986). The decision ignores that written description—

like enablement—requires consideration of the PHOSITA’s knowledge of the art

at the time the invention was made. Ariad, 598 F.3d at 1351; Capon, 418 F.3d at

1358. As the three Administrative Law Judges found in the above-mentioned

parallel IPR proceeding, “the use of loading doses [according to both expert

testimony and supporting evidence], ‘are not today, and were not in June 2006,

part of the accepted MS or RR-MS treatment protocols.’” Apotex Inc. v. Novartis

AG, IPR2017-00854, 2018 WL 3414289 (P.T.A.B. July 11, 2018), at *10. A

PHOSITA clearly would have known that a loading dose was not part of the ’405

patent’s claimed RRMS treatment method as of its 2006 invention date. Contrary

to the approach taken by the second panel, the Federal Circuit repeatedly has

allowed patentees to rely on prior art to demonstrate to a PHOSITA that the

inventor had invented what was claimed. E.g., Falkner v. Inglis, 448 F.3d 1357,

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June 24, 2022 (https://www.natlawreview.com/article/silence-not-golden-federal-
circuit-invalidates-method-treatment-patent-lack-written) (noting how the second
panel decision can be used to create uncertainty).
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1366-68 (Fed. Cir. 2006); Streck, Inc. v. Research & Diagnostic Sys., Inc., 665

F.3d 1269, 1285-87 (Fed. Cir. 2012); Union Oil Co. of Cal., 208 F.3d at 999–1001.

And because avoidance of loading doses was known in the art, the exclusion of a

loading dose could not have been a novel or “essential element” of the invention

for which written description support was particularly important. Cf. Gentry

Gallery, Inc. v. Berkline Corp., 134 F.3d 1473, 1479–80 (Fed. Cir. 1998)

(invalidating claims for lack of written description of “essential element”); Capon,

418 F.3d at 1358 (finding error in BPAI’s requirement that written description

specify prior art element unrelated to novelty of claimed invention). The written

description inquiry here thus did not warrant any contrary, “plain text” fact-finding

by the second panel.2

                                   CONCLUSION

      For the foregoing reasons, amici respectfully urge the Court to grant

Novartis’s petition for panel and en banc rehearing.




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  To the extent the second panel majority did cite facts adduced at trial, its fact-
finding was selective and clearly contrary to the prior art.
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                                        Respectfully submitted,

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                                     APPENDIX

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      The undersigned counsel for amici curiae certifies that, on August 4, 2022,

the foregoing BRIEF OF AMICI CURIAE INTELLECTUAL PROPERTY

LAW PROFESSORS IN SUPPORT OF NOVARTIS PHARMACEUTICALS

CORPORATION’S PETITION FOR PANEL AND EN BANC REHEARING

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